                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA

                                      NO. 5:17-mj-01172-RN


    UNITED STATES OF AMERICA                     )
                                                 )         NOTICE OF EXPERT WITNESS
    v.                                           )
                                                 )
    JACKSON EMBREY,                              )
                 Defendant                       )

          NOW COMES the Defendant, by and through undersigned counsel, and hereby gives

    NOTICE of his intent to tender Doug Scott, Doug Scott of Drugs & Alcohol Risk Management,

    Inc., as an expert witness in the fields of Horizontal Gaze Nystagmus, the Intox EC/IR II, and

    Standardized Field Sobriety Tests (SFSTs).

           Respectfully submitted this the 18th day of November 2017.


                                                     THE CHETSON FIRM

                                                     /s/ Damon Chetson
                                                     Damon J. Chetson
                                                     Counsel for the Defendant (Retained)
                                                     NC Bar #39575
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                                      CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that a copy of the foregoing was served upon opposing counsel

    by electronically filing the foregoing with the Clerk of Court using the CM/ECF system which

    will send notification of such filing to the above.

    This the 18th day of November 2017.

                                                   THE CHETSON FIRM

                                                   /s/ Damon Chetson
                                                   Damon J. Chetson
                                                   Counsel for the Defendant (Retained)
                                                   NC Bar #39575
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